           Case 1:18-vv-01305-UNJ Document 41 Filed 09/17/20 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1305V
                                          UNPUBLISHED


    SUSAN ANN KUHN,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: August 17, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES1

       On August 28, 2018, Susan Ann Kuhn filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered to her left
shoulder on September 19, 2017. Petition at 1. Petitioner further alleges that her injury
last for more than six months. Petition at 6. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

      On June 10, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On August 17, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $90,100.00 consisting
of $90,000.00 in actual and projected pain and suffering, and $100.00 for past

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:18-vv-01305-UNJ Document 41 Filed 09/17/20 Page 2 of 5



unreimbursable expenses. Proffer at 2. In the Proffer, Respondent represented that
Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $90,100.00 (consisting of $90,000.00 in actual and projected pain
and suffering, and $100.00 for past unreimbursable expenses) in the form of a
check payable to Petitioner. This amount represents compensation for all damages that
would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
          Case 1:18-vv-01305-UNJ Document 41 Filed 09/17/20 Page 3 of 5




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                     )
 SUSAN ANN KUHN,                                     )
                                                     )
                Petitioner,                          )
                                                     )    No. 18-1305V
 v.                                                  )    Chief Special Master Corcoran
                                                     )    ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
                Respondent.                          )
                                                     )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

      On April 15, 2020, Chief Special Master Corcoran issued Findings of Fact, finding that

the onset of petitioner’s left shoulder injury related to vaccine administration (“SIRVA”)

occurred within 48 hours of vaccination. ECF No. 28 at 2, 7. On June 8, 2020, the Secretary of

Health and Human Services (“respondent”) filed an Amended Vaccine Rule 4(c) Report advising

that, in light of Chief Special Master Corcoran’s Findings of Fact ruling that the onset of

petitioner’s left arm pain occurred within 48 hours of vaccination, and the medical evidence

submitted in this case, respondent did not dispute that petitioner had satisfied all legal

prerequisites for compensation under the Vaccine Act. ECF No. 30 at 2, 8-9. Thereafter, on

June 10, 2020, Chief Special Master Corcoran entered a Ruling on Entitlement, finding

petitioner, Susan Ann Kuhn, entitled to Vaccine Act compensation for her Table SIRVA injury.

ECF No. 31.
               Case 1:18-vv-01305-UNJ Document 41 Filed 09/17/20 Page 4 of 5




I.        Items of Compensation

          A.       Pain and Suffering

          Respondent now proffers that, based on the Chief Special Master’s entitlement decision

and the evidence of record, Susan Ann Kuhn should be awarded $90,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

          B.       Past Unreimbursable Expenses

          Evidence supplied by petitioner documents Susan Ann Kuhn’s expenditure of past

unreimbursable expenses related to her vaccine-related injury. Respondent now proffers that,

based on the Chief Special Master’s entitlement decision and the evidence of record, petitioner

should be awarded past unreimbursable expenses in the amount of $100.00, as provided under

the Vaccine Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.1

II.       Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to Susan Ann Kuhn should be made

through a lump sum payment as described below and requests that the Chief Special Master’s

decision and the Court’s judgment award the following2: a lump sum payment of $90,100.00,



1
 The parties have no objection to the amount of the proffered award of damages. Assuming the
Chief Special Master issues a damages decision in conformity with this proffer, the parties waive
their right to seek review of such damages decision. However, respondent reserves his right,
pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Chief Special Master’s June 10, 2020
entitlement decision.
2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.
                                                   2
         Case 1:18-vv-01305-UNJ Document 41 Filed 09/17/20 Page 5 of 5




representing compensation for pain and suffering ($90,000.00), and past unreimbursable

expenses ($100.00), in the form of a check payable to petitioner, Susan Ann Kuhn.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Susan Ann Kuhn:                          $90,100.00

                                            Respectfully submitted,

                                            ETHAN P. DAVIS
                                            Acting Assistant Attorney General

                                            C. SALVATORE D’ALESSIO
                                            Acting Director
                                            Torts Branch, Civil Division

                                            CATHARINE E. REEVES
                                            Deputy Director
                                            Torts Branch, Civil Division

                                            DARRYL R. WISHARD
                                            Assistant Director
                                            Torts Branch, Civil Division

                                            s/ Sarah C. Duncan
                                            SARAH C. DUNCAN
                                            Trial Attorney
                                            Torts Branch, Civil Division
                                            U.S. Department of Justice
                                            P.O. Box 146
                                            Benjamin Franklin Station
                                            Washington, D.C. 20044-0146
                                            Tel: (202) 514-9729
                                            Fax: (202) 616-4310
DATED: August 17, 2020




                                               3
